FILED: KINGS COUNTY CLERK 03/01/2024 09:58 AM                                                        INDEX NO. 504456/2024
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF KINGS
          ----------------------------------------------------------------X
          VOX FUNDING LLC
                                                                                Index No.: 504456/2024
                                    Plaintiff,
                  -against-                                                     AFFIRMATION OF
                                                                                SERVICE
          CXOSYNC LLC D/B/A CXOSYNC et al.,

                                     Defendants.
          ----------------------------------------------------------------X

         STATE OF NEW YORK  )
                            ) ss.:
         COUNTY OF NEW YORK )

                 YESHAYA GORKIN, an attorney duly admitted to practice law before the Courts of
         the State of New York, hereby affirms, under the penalty of perjury, as follows:
                 1.      I am a partner of Ainsworth Gorkin PLLC, attorneys for Plaintiff, am over the
         age of 18, am not a party to this action, and am a resident of the State of New York.
                 2.      On, 2/29/2024, I caused to be served a true and accurate copy of the NOTICE
         OF ELECTRONIC FILING and SUMMONS WITH NOTICE upon RUPEN PATEL, by
         certified mail, return receipt requested, by depositing the same in an official depository under
         the exclusive care and custody of the United States Postal Service within the State of New
         York designated for that purpose, addressed to:
         RUPEN PATEL
         1600 S PRAIRIE AVE UNIT 1208, CHICAGO, IL 60616
                 3.      The forgoing method of service was authorized by Defendants under the
         Merchant Agreement, which is the subject to the dispute herein (a copy of which is attached
         hereto as Exhibit A). The Appellate Division, Second Department has held that service of
         process by mail as per the terms of a written agreement is sufficient and reasonably
         calculated to apprise a defendant of the pendency of a lawsuit. See Matter of New York
         Merchants Protective Co., Inc., v. Mima’s Kitchen, Inc., 114 A.D.3d 796 (2d Dep’t 2014);
         see also, Matter of Fernandez (Universal Underwriters Ins.) Co., 130 A.D. 2d 657 (2d Dep’t
         1987).
                 4.      I provided the Department of Defense Man Power Data Center service with
         the pertinent information about RUPEN PATEL, such as the social security number which I
         know because that information was provided by RUPEN PATEL in connection with his
         application to Plaintiff. Based upon the response I received from the Department of Defense
         Manpower Data Center dated March 1, 2024, I am convinced that RUPEN PATEL is not in
         any branch of the United States military.

         Dated: New York, New York
                March 1, 2024

                                                                              Yeshaya Gorkin, Esq.




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